
MEMORANDUM **
James Templeton appeals from the 240-month sentence imposed following his guilty-plea conviction for conspiracy to manufacture methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846. We have jurisdiction pursuant to 28 U.S.C. § 1291, and we affirm.
The government’s contention that we lack jurisdiction to review a sentence within the advisory Guidelines range is foreclosed by United States v. Plouffe, 445 F.3d 1126, 1131 (9th Cir.), cert. denied, -U.S. -, 126 S.Ct. 2314, 164 L.Ed.2d 832 (2006).
Templeton contends that his sentence must be reversed because the district court misapplied 18 U.S.C. § 3553(a)(6) by failing to consider the disparity between his sentence and sentences imposed on his co-conspirators and defendants in related cases. We disagree.
*587The record shows that the district court considered Templeton’s particular history and characteristics, the nature and circumstances of the offense, and the need for the sentence imposed to reflect the seriousness of the offense, to afford adequate deterrence to criminal conduct, and to provide just punishment. See 18 U.S.C. §§ 3553(a)(1), (a)(2). The district court “gave thoughtful attention to factors recognized in § 3553(a) and exercised sound discretion to ensure that the punishment fit the crime and the circumstances of the appellant[ ].” United States v. Marcial-Santiago, 447 F.3d 715, 719 (9th Cir.), cert. denied sub nom. Acosta-Franco v. United States, — U.S. -, 127 S.Ct. 309, 166 L.Ed.2d 232 (2006). We therefore conclude that Templeton’s sentence was not unreasonable. See Plouffe, 445 F.3d at 1131.
AFFIRMED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9 th Cir. R. 36-3.

